
41 So. 3d 434 (2010)
Dr. Eva C. WANTON, Appellant,
v.
FLORIDA A &amp; M UNIVERSITY BOARD OF TRUSTEES, Appellee.
No. 1D10-3521.
District Court of Appeal of Florida, First District.
August 11, 2010.
Carolyn Cummings of Cummings &amp; Hobbs, P.A., Tallahassee, for Appellant.
No appearance for Appellee.
PER CURIAM.
DISMISSED. See Hickox v. Taylor, 933 So. 2d 675 (Fla. 1st DCA 2006); see also Augustin v. Blount, Inc., 573 So. 2d 104 (Fla. 1st DCA 1991); Zabawa v. Penna, 868 So. 2d 1292 (Fla. 5th DCA 2004) (holding that substance of an order rather than its label is determinative of the order's nature).
THOMAS, WETHERELL, and MARSTILLER, JJ., concur.
